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                                      UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY


           UNITED STATES OF AMERICA                 :     j Hon. William H. Walls
                            v.                      :            No. 13-276      (WUW)

           PATRICK FOGO and
           DENTON GOUGH                                   CONTINUANCE ORDER



                            This matter having come before the Court on the joint

           application of Paul J. Fishman, United States Attorney for the

           District of New Jersey (by Ronnell L. Wilson, Assistant U.S.

           Attorney), and defendant,d Patrick Fogo (by Olubukola 0. Adetula,

           Esq.),                                  ?I                 _--4       for an order
           granting a continuance of the proceedings in the above—captioned

           matter to pursue plea negotiations, and k defendant being

           aware that he has the right to have the matter brought to trial

           within 70 days of the date of his appearance before a judicial

           officer of this court pursuant to Title 18 of the United States

           Code,     Section 3161(c) (1), and as -e defendant has consented to

           such a continuance,            and for good and sufficient cause shown,

                            IT IS THE FINDING OF THIS COURT that this action should

           be continued for the following reasons:

                            1.   Plea negotiations are currently in progress, and

           both the United States and the defendantj desire additional time

           to finalize a plea agreement, which would render trial of this

          matter unnecessary;




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                         2.     The grant of a continuance will likely conserve

           judicial resources;

                         3      Pursuant to Title 18 of the United States Code,

          Section 3161(h) (7),           the ends of justice served by granting the

          continuance outweigh the best interests of the public and the

          defendantJ in a speedy trial.

                         WHEREFORE,      on th_s   1/       aay of September 2013,

                         ORDERED that motions shall be filed October 21,           2013;
          the opposition motions shall be filed by November 4, 2013; the

          arcutnent of motions is scheduled for November 18, 2013, or a date

          to be set by the Court;           and the trial is scheduled for December

          2, 2013, or a date to be set by the Court;

                        ORDERED that the period from October 4, 2013, through

          December 2,         2013,   shall be excludable in computing time under the

          Speedy Trial Act of 1974, pursuant to Title 18, Unit,d States

          Code,     Section 3Th1 (h) (7),



                                                                      Walls
                                                       United States District Judge




          Form and entry
          consented to:


              :__




          Ronnell L Wilson
          Assistant U.S. Attorney




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